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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )             CASE NO. 8:07CR197
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )             TENTATIVE FINDINGS
                                               )
DARYL SMOOT,                                   )
                                               )
              Defendant.                       )

       The Court has received the Presentence Investigation Report (“PSR”) in this case.

The Plaintiff has objected to the report on the basis of the quantity of controlled substance

attributable to the Defendant, and states that it will stand by the plea agreement. (Filing

No. 56). The Defendant also objects to the report on the basis of the quantity of controlled

substance attributable to him and to paragraphs 46 and 48 as they relate to his criminal

history. (Filing No. 60) See Order on Sentencing Schedule, ¶ 6. The Court advises the

parties that these Tentative Findings are issued with the understanding that, pursuant to

United States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory. The

objections regarding quantity will be sustained, and the objection regarding paragraph 46

and the over-representation of the Defendant’s criminal history by the assigned category

shall be heard before sentencing.

       IT IS ORDERED:

       1.     The parties are notified that my tentative findings are that the PSR is correct

in all respects except with regard to 1) the quantity of controlled substances attributable to

the Defendant, and that the terms of the plea agreement will be honored in regard to this

issue, and to 2) paragraph 46 and issues relating to the PSR’s over-representation of the

seriousness of the Defendant’s criminal history;
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       2.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       3.     Absent submission of the information required by paragraph 2 of this Order,

my tentative findings may become final; and

       4.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 29th day of January, 2008.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          United States District Judge




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